                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF PUERTO RICO

PUNTA LIMA, LLC,

     Plaintiff,

                   v.
                                               Civil No. 19-1673 (FAB)
PUNTA LIMA DEVELOPMENT COMPANY,
LLC,

     Defendant.
PUNTA LIMA WIND FARM, LLC,

     Plaintiff,

                   v.                          Civil No. 19-1800 (FAB)

PUNTA LIMA DEVELOPMENT
COMPANY, LLC,

     Defendant.


                            OPINION AND ORDER

     Before the Court is plaintiff Punta Lima Wind Farm, LLC (“Wind

Farm”)’s motion for a temporary restraining order (“TRO”) pursuant

to Federal Rule of Civil Procedure 65 (“Rule 65”).             (Case No. 19-

1673, Docket No. 26.)     For the reasons set forth below, Wind Farm’s

motion for injunctive relief is DENIED.

I.   Background

     Punta Lima Wind Farm, LLC (“Wind Farm”) operates a wind energy

facility    in   Naguabo,   Puerto      Rico    (hereinafter    “facility”).

(Docket No. 1 at p. 5.)     Wind Farm leased property and specialized

equipment   from    defendant   Punta    Lima    Development   Company,   LLC
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(“Development Company”) and plaintiff Punta Lima, LLC (“Punta

Lima”), respectively.

       A. The Lease and Sublease Agreements

         The facility is located on three parcels of land: (1) the

Punta Lima Property, (2) the Montida Property, and (3) the Torres-

Hoyos property.    Id. at pp. 3—4.

         1. The Punta Lima Property

            Punta Lima Development Company owns a parcel of land in

the Municipality of Naguabo.       Id. at p. 3.   Wind Farm leased the

property from Development Company on December 21, 2012.         Id.

         2. The Montida Property

            Wind Farm leased the Montida property from the Puerto

Rico    Land   Administration   (“PRLA”)   on   June   7,   2011.     Id.

Subsequently, Wind Farm assigned all rights, title and interest

pursuant to the PRLA lease agreement to Development Company on

December 20, 2012. Id. at p. 4. Subsequently, Development Company

subleased the Montida property to Wind Farm.       Id.

         3. The Torres-Hoyos Property

            Iván Torres-Hoyos, Héctor Torres-Hoyos, and Wind Farm

executed a lease agreement on September 21, 2011. Id.          Wind Farm

assigned all rights, title and interest pursuant to the Torres-

Hoyos lease agreement to Development Company on December 19, 2012.

Id.    Development Company subleased the Torres-Hoyos property to

Wind Farm on December 19, 2012.         Id.     Accordingly, Wind Farm
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operates the facility on property either owned by Development

Company (i.e., the Punta Lima property) or leased by Development

Company    (i.e.,     the     Montida   and   Torres-Hoyos     properties).

Hurricane María destroyed the facility, prompting Wind Farm to

default on the lease and sublease agreements.            Id. at p. 8.

       B. The Equipment Agreement

          Santander Bank, N.A. (“Santander”) and Wind Farm entered

into a Facility Lease Agreement on December 28, 2012.             Id. at p.

5.     Santander leased the following equipment to Wind Farm: wind

power     generating        machines,    electrical      transmission   and

communication lines, poles, transformers, energy storage units,

crane     pads,     meteorological      towers,   and     other   equipment

constituting the facility.        Id.   Punta Lima and Santander entered

into a Contribution, Assignment and Assumption Agreement on August

15, 2013.      Id.     Santander transferred all rights, title and

interest pursuant to the Facility Lease Agreement to Punta Lima.

Id.

          Wind Farm defaulted on the Facility Lease Agreement. Id.

To cure the default, Punta Lima and Wind Farm entered into a

Foreclosure Sale Agreement on July 15, 2019.            (Docket No. 26 at p.

18.)    Consequently, Punta Lima is the sole member of Wind Farm.

Id. at p. 26. Despite the foreclosure, Wind Farm owes Punta Lima

more than $25,000,000.00. Id. at p. 22.
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     C. Subordination Agreement

          Development      Company        and     Wind     Farm    entered         into    a

Subordination      Agreement       on    August    15,    2013.         Id.   at   p.     10.

Development Company agreed to the subordination of Wind Farm’s

payment obligations pursuant to the Punta Lima lease, the Montida

sublease, and the Torres-Hoyos sublease in favor of Wind Farm’s

payment obligations pursuant to the Facility Lease Agreement.                             Id.

     D. The Punta Lima Litigation
      Wind Farm defaulted on the Punta Lima on the lease and

sublease agreements.         Id. at p. 13.               Development Company sent

notices of default to Punta Lima, requesting that Punta Lima cure

Wind Farm’s default within 30 days.               Id.     According to Development

Company,    Wind    Farm    owes        the   following     in    outstanding        rent:

$263,524.00 for the Punta Lima property, $214,032.00 for the

Montida property, and $485,442.00 for the Torres-Hoyos property.

(Docket No. 26, Ex. 26.)            Punta Lima commenced an action against

Development Company, arguing that Wind Farm’s payment obligations

to Development Company are subordinated “in favor of any and all

of the obligations of Wind Farm owing to [Punta Lima] under the

Facility Lease Agreement” (hereinafter “Punta Lima litigation”).

(Case No. 19-1673, Docket No. 7 at p. 7.)

     On    August   2,     2019,    Punta       Lima     moved    for    a    preliminary

injunction pursuant to Federal Rule of Civil Procedure 65. (Docket

No. 12.)    Punta Lima requests that the Court preclude Development
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Company     from   terminating   the    Punta   Lima    lease,     the    Montida

sublease, and the Torres-Hoyos sublease agreements.                Id. at p. 1.

Development Company purportedly failed to substantiate the sums

owed   by   Wind   Farm   regarding    the   lease     agreements,    concealed

“disbursement of proceeds purportedly received by Wind Farm from

[a] business interruption [insurance] policy,” and prohibited

Punta Lima from accessing the facility.              Id. at p. 2.     The Court

ordered     Development    Company     to    respond    to   the    preliminary

injunction motion no later than September 12, 2019.                 (Docket No.

18.)

       E. The Wind Farm Litigation

          A month after the Punta Lima litigation began, Wind Farm

filed a verified complaint against Development Company.                  (Case No.

19-1800).     Wind Farm alleges that Development Company terminated

the lease agreements, preventing Wind Farm from accessing the

facility.    Id. at p. 3.    Without access to the facility, Wind Farm

cannot comply with Puerto Rico Electric Power Authority (“PREPA”)

requirements, qualify for the Green Energy Incentives Act tax

exemption pursuant to Act No. 83-2010, or receive proceeds from an

insurance policy.      Id. at p. 2.     Moreover, Wind Farm commissioned

technical advisors to repair the facility.               (Docket No. 1, Ex.

36.)    Pursuant to the Professional Consulting Services Agreement,

the advisors require access to the facility by September 9, 2019

to perform an assessment.        Id. at p. 15.
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       Wind    Farm     seeks     declaratory          relief    as     to     Development

Company’s      rights        pursuant     to    the     lease     and        subordination

agreements, and injunctive relief prohibiting Development Company

from restricting access to the facility.                  Id.     Wind Farm also sets

forth breach of contract, bad faith performance, conversion, and

restitution causes of action.                   (Docket No. 1 at pp. 24-31.)

Essentially,         Punta     Lima     and     Wind     Farm     contend       that     the

subordination         agreement       precludes        Development       Company       from

terminating the lease and sublease agreements.

            Wind Farm moved for a temporary restraining order, citing

the “urgency of obtaining provisional remedy sufficient to allow

[Wind Farm] access to the [facility] on September 9, 2019.”

(Docket No. 2 at p. 37.)           Judge Daniel R. Domínguez denied the TRO

motion and vacated the September 2, 2019 show cause hearing,

however, after Development Company invited Wind Farm and Punta

Lima “to coordinate access to the properties.”                        (Docket No. 14 at

p.    2.)      The    Court     granted       Development       Company’s       motion    to

consolidate the Punta Lima and Wind Farm litigation.                            (Case No.

19-1673, Docket No. 25.)              Wind Farm filed a second TRO motion,

seeking access to the facility on September 9, 2019 for the

assessment.          (Docket No. 26.)

II.    Legal Standard

       A    temporary    restraining          order    “is   a   provisional        remedy

imposed to maintain the status quo until a full review of the facts
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and legal arguments is available.”       Pro-Choice Network v. Schenck,

67 F.3d 377, 389-99 (2d Cir. 1995).          The following four factors

govern the Court’s TRO analysis:           (1) the likelihood that the

movant   will   succeed    on   the   merits;   (2)   the   potential    for

irreparable harm if the injunction is denied; (3) the balance of

the relevant equities (i.e., the hardship that will befall the

defendants if the TRO issues contrasted with the hardship that

will befall Wind Farm and Punta Lima if the TRO does not issue);

and (4) the effect of the Court’s ruling on the public interest.

Planned Parenthood League v. Bellotti, 641 F.2d 1006, 1009 (1st

Cir. 1981).1    Irreparable harm “constitutes a necessary threshold

showing for an award of preliminary injunctive relief.”           González-

Droz v. González-Colón, 573 F.3d 75, 79 (1st Cir. 2009).             “Delay

between the institution of an action and the filing of a motion

for a preliminary injunction, not attributable to intervening

events, detracts from the movant’s claim of irreparable harm.”

Charlesbank Equity Fund II, Ltd. v. Blinds To Go, Inc., 370 F.3d

151, 163 (1st Cir. 2004) (citation omitted)

     Injunctive relief is “a matter for the discretion of the

district court and is reversible, of course, only for an abuse of

discretion.”     Id.    Temporary restraining orders “must be used


1 Although Planned Parenthood League v. Bellotti, 641 F.2d 1006, concerned a
preliminary injunction, courts employ the “same four-factor analysis” to
“determine whether to issue a temporary restraining order.” OfficeMax Inc. v.
County Quick Print, Inc., 709 F. Supp. 2d 100, 106 (D. Me. 2010) (citation
omitted).
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sparingly and only in cases where the need for extraordinary

equitable relief is clear and plain.”        Northwest Bypass Grp. v.

United States Army Corps. of Eng’rs, 453 F. Supp. 2d 333, 338

(D.N.H. 2006) (internal citation and quotation omitted); see Mass.

Coalition of Citizens with Disabilities v. Civil Def. Agency &

Office of Emergency Preparedness, 649 F.2d 71, 76 n.7 (1st Cir.

1981).    Wind Farm shoulders the burden of establishing that a TRO

is warranted.    Ross-Simons of Warwick, Inc. v. Baccarat, Inc., 102

F.3d 12, 18 (1st Cir. 1996).

III. Discussion

       A temporary restraining order is inappropriate because Wind

Farm has failed to demonstrate irreparable harm.         Wind Farm avers

that   the   September   9,   2019   assessment   is   “crucial   to   the

restoration of the Wind Energy Facility.”         (Docket No. 26 at p.

32.)     Development Company has informed Punta Lima, however, that

with “a reasonable communications effort . . . [access to the

facility] could be arranged.” (Docket No. 29, Ex. 1; see Attachment

1, July 23, 2019 Letter.)        Accordingly, Development Company’s

willingness to coordinate access to the facility obviates the need

for a temporary restraining order.        The harm set forth in Punta

Lima’s motion for a TRO is self-inflicted.             The parties shall

coordinate access to the property, setting aside the acrimonious

and obstinate posture that Wind Farm, Punta Lima, and Development

company have adopted in this litigation.      The parties shall inform
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the Court of the time and manner in which Wind Farm and Punta Lima

may access the facility on September 9, 2019 no later than 1:00 PM

on September 6, 2019.

IV.   Order to Show Cause Regarding Diversity Jurisdiction

      Wind   Farm   and   Punta   Lima   invoke   the   Court’s   diversity

jurisdiction, alleging complete diversity of citizenship among the

parties, and that the amount in controversy exceeds $75,000. (Case

No. 19-1673, Docket No. 7 at p. 2; Case No. 19-1800, Docket No. 1

at p. 5) (citing 28 U.S.C. § 1332).        Federal courts are courts of

limited jurisdiction.      Destek Grp. v. State of N.H. Pub. Utils.

Comm’n, 318 F.3d 32, 38 (1st Cir. 2003).                The Court “has an

obligation to inquire sua sponte into its own subject matter

jurisdiction.”      McCulloch v. Vélez, 364 F.3d 1, 5 (1st Cir. 2004);

Fina Air, Inc. v. United States, 555 F. Supp. 2d 321, 323 (D.P.R.

2008) (noting that the Court “ha[s] the duty to construe [its]

jurisdictional grants narrowly”) (Besosa, J.).

      Wind Farm and Punta Lima shoulder the burden of establishing

federal jurisdiction by the preponderance of the evidence.             See

Bank One, Texas, N.A. v. Montle, 964 F.2d 48, 50 (1st Cir. 1992).

To invoke the Court’s diversity jurisdiction, Wind Farm and Punta

Lima must demonstrate that the amount in controversy exceeds

$75,000, and that all plaintiffs are diverse from all defendants.

28 U.S.C. § 1332(a); Álvarez-Torres v. Ryder Mem. Hosp., 582 F.3d

47, 53 (1st Cir. 2009) (“Where it applies, diversity jurisdiction
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requires   ‘complete    diversity’     of    citizenship    as   between    all

plaintiffs and all defendants.”) (citation omitted).

      Punta Lima and Wind Farm are limited liability companies

organized pursuant to the laws of Delaware, and have principal

places of business in Boston, Massachusetts.             (Case No. 19-1673,

Docket No. 7 at p. 2; Case No. 19-1800, Docket No. 1 at p. 5.)

Development   Company    is   a    limited   liability     company   that    is

incorporated and has a principal place of business in Puerto Rico.

Id.   The citizenship of a limited liability company “is determined

by the citizenship of all of its members.”               D.B. Zwirn Special

Opportunities Fund, L.P. v. Mehrotra, 661 F.3d 124, 126 (1st Cir.

2011) (internal quotations and citations omitted).           The complaints

fail to set forth the citizenship of the LLC members.            The absence

of this information precludes the Court from conducting a complete

jurisdictional analysis.          Accordingly, Punta Lima and Wind Farm

are allowed until September 23, 2019 to file amended complaints in

accordance with this opinion and order.             Failure to do so may

entail the dismissal of the complaint, without prejudice.

IV.   Conclusion

      For the reasons set forth above, the Court DENIES the Wind

Farm’s motion for a temporary restraining order.           (Docket No. 26.)

The parties shall inform the Court of the time and manner in which

Wind Farm and Punta Lima may access the facility on September 9,

2019 no later than 1:00 PM on September 6, 2019.             Punta Lima and
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Wind Farm are allowed until September 23, 2019 to file amended

complaints in accordance with this opinion and order.   Failure to

do so may entail the dismissal of the complaint, without prejudice.

     IT IS SO ORDERED.

     San Juan, Puerto Rico, September 5, 2019.


                                    s/ Francisco A. Besosa
                                    FRANCISCO A. BESOSA
                                    UNITED STATES DISTRICT JUDGE
